Case 08-72687-jrs        Doc 204     Filed 08/19/10 Entered 08/19/10 13:02:07               Desc Main
                                     Document     Page 1 of 5


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                               )
                                     )                  CASE NO. 08-72687-MGD
PLY-MARTS, INC.,                     )                  CHAPTER 7
                                     )
      Debtor.                        )
____________________________________ )
                                     )
TAMARA MILES OGIER AS                )
CHAPTER 7 TRUSTEE,                   )
                                     )
      Plaintiff,                     )                  ADVERSARY PROCEEDING
                                     )
v.                                   )                  NO. _____________________
                                     )
RANDALL BROTHERS, INC.,              )
                                     )
      Defendant.                     )

                                        COMPLAINT

         TAMARA MILES OGIER AS CHAPTER 7 TRUSTEE files this Complaint against

Defendant Randall Brothers, Inc. and shows this Honorable Court the following:

                                               1.

         Tamara Miles Ogier (“Trustee”) is the duly appointed and qualified Trustee of the

above-styled bankruptcy case.

                                               2.

         Randall Brothers, Inc. (“Defendant”) is subject to the jurisdiction and venue of this

Court and may be served pursuant to Fed. R. Bankr. P. 7004.

                                               3.

         This Adversary Proceeding arises out of and relates to the Chapter 7 Bankruptcy

Case of Ply-Marts, Inc., Case No. 08-72687-mgd on the docket of this Court. This Court

has jurisdiction over this Adversary Proceeding pursuant to 28 U.S.C. §157 and §1334.
Case 08-72687-jrs       Doc 204      Filed 08/19/10 Entered 08/19/10 13:02:07                Desc Main
                                     Document     Page 2 of 5


This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The Court may, therefore,

issue appropriate orders or judgments in this core proceeding. Venue is proper in this Court

pursuant to 28 U.S.C. §§1408 and 1409. This Court may issue the relief sought pursuant to

11 U.S.C. §§ 547, 549 and 550 and other applicable statutes and laws.

                                               4.

        On July 1, 2008 (the “Petition Date”), an involuntary petition for relief under

Chapter 11 of the Bankruptcy Code was filed against Ply-Marts, Inc. (“Debtor”).

                                               5.

        On September 3, 2008, the Court entered an Order for Relief under Chapter 11. On

September 3, 2008, the Court converted this case to Chapter 7 of the Bankruptcy Code, and

Tamara Miles Ogier was appointed as Chapter 7 Trustee.

                                               6.

        During the ninety days prior to the Petition Date, Debtor transferred to the Defendant at

least the sum of $49,000.00 (said transfer(s) hereinafter referred to as “the Transfers”). To the

extent the Trustee discovers the existence of additional transfers to Defendant within the ninety

(90) days prior to the Petition Date, the Trustee intends to recover all such transfers, and this

complaint is not limited to those transfers disclosed as part of the defined term.

                                               7.

        The Transfers were transfers of interests in property of the Debtor.

                                               8.

        The Transfers were made to or for the benefit of a creditor, the Defendant.




                                                    2
Case 08-72687-jrs       Doc 204     Filed 08/19/10 Entered 08/19/10 13:02:07             Desc Main
                                    Document     Page 3 of 5


                                             9.

       The Transfers were for or on account of an antecedent debt owed by the Debtor to the

Defendant before the Transfers were made.

                                             10.

       The Transfers were made while the Debtor was insolvent.

                                             11.

       The Transfers were made within ninety (90) days before the date of the filing of the

filing of Debtor’s bankruptcy petition.

                                             12.

       The Transfers enabled the creditor, Defendant, to receive more than such creditor

would receive under Chapter 7 of title 11 of the Bankruptcy Code (11 U.S.C. §§ 101, et seq.)

if the Transfers had not been made and such creditor received payment of such debt to the

extent provided by the provisions of the Bankruptcy Code.

                                             13.

       Pursuant to 11 U.S.C. § 547, the Transfers are avoidable by the Trustee and should be

preserved for the Estate pursuant to 11 U.S.C. § 551.

                                             14.

       Pursuant to a letter dated March 19, 2010, the Trustee made demand upon Defendant

for turnover of the Transfers. A true and correct copy of said letter is attached hereto as

Exhibit “A.”

                                             15.

        To date, the Defendant has failed to remit any funds to the Trustee.




                                                   3
Case 08-72687-jrs      Doc 204     Filed 08/19/10 Entered 08/19/10 13:02:07               Desc Main
                                   Document     Page 4 of 5


                                             16.

       Pursuant to the provisions of 11 U.S.C. §§ 547 and 550 Defendant is liable to the

Trustee for the value of the Transfers in an amount not less than $49,000.00, plus pre-

judgment interest allowed by law from the date of the demand letter, plus all post judgment

interest allowed by law.

       WHEREFORE, Plaintiff prays this Honorable Court:

       1. Order the Transfers not subject to applicable defenses be avoided pursuant to 11

           U.S.C. § 547 and preserved for the Estate pursuant to 11 U.S.C. § 551;

       2. Pursuant to 11 U.S.C. § 550, enter an Order and Judgment in favor of Plaintiff and

           against Defendant in the sum of $49,000.00 for the Transfers, plus pre-judgment

           interest allowed by law from the date of the demand letter, plus all post judgment

           interest allowed by law; and

       3. Grant Plaintiff such further and additional relief as this Court deems appropriate.

                                      ELLENBERG, OGIER,
                                      ROTHSCHILD & ROSENFELD, P.C.

                                      By:     /s/ Tamara Miles Ogier
                                            Tamara Miles Ogier
                                            Georgia Bar No. 550355

                                      By:     /s/ Allen Rosenfeld
                                            Allen P. Rosenfeld
                                            Georgia Bar No. 614451
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                                                   4
Case 08-72687-jrs   Doc 204   Filed 08/19/10 Entered 08/19/10 13:02:07   Desc Main
                              Document     Page 5 of 5


                                                                         Exhibit A
